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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF GEORGIA
                                    COLUMBUS DIVISION

HALEY HARRIS,                                      *

                       Plaintiff,                  *
v.                                                     Case No. 4:20-cv-176 (CDL)
                                                   *
SAM’S EAST, INC.,
                                                   *
                  Defendant.
___________________________________                *


                                       JUDGMENT

       Pursuant to the jury verdict dated October 6, 2022 and this Court’s Order dated May 23,

2022, and for the reasons stated therein, JUDGMENT is hereby entered in favor of Plaintiff in

the amount of $1,711.11 in net lost wages and benefits and $250,000.00 for emotional pain and

mental anguish, for a total amount of $251,711.11. These amounts shall accrue interest from the

date of entry of judgment at the rate of 4.07% per annum until paid in full. Plaintiff shall also

recover costs of this action.

       This 6th day of October 2022.

                                            David W. Bunt, Clerk


                                            s/ Timothy L. Frost, Deputy Clerk
